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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                    )
 In re:                                             )     Chapter 7
                                                    )
 THE WORTH COLLECTION, LTD.,                        )     Case No. 20-10337 (BLS)
                                                    )
                       Alleged Debtor.              )
                                                    )

     FIFTEENTH STIPULATION FURTHER EXTENDING TIME FOR ALLEGED
            DEBTOR TO RESPOND TO INVOLUNTARY PETITION

          IT IS HEREBY STIPULATED AND AGREED by and between the Ad Hoc Committee

of Creditors, comprised of Slate Studios, LLC, North East Courier, Inc., Newell Fashion Center

Inc., Superb Stitch Inc., CK Trading Co., Ltd., River Glory Limited, and Co-Source Solutions

(collectively, “Petitioners”), and the alleged debtor The Worth Collection, LTD. (the “Alleged

Debtor”), by and through their undersigned counsel, that the time within which the Alleged Debtor

must answer or otherwise respond to the Amended Chapter 7 Involuntary Petition [D.I. 8] is

extended from October 2, 2020 to November 2, 2020.


  GOLDSTEIN & MCCLINTOCK LLLP                     KLEHR HARRISON HARVEY
                                                  BRANZBURG LLP


  /s/ Maria Aprile Sawczuk                        /s/ Richard M. Beck
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  Counsel for the Petitioners                     -and-
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                                        Counsel for Alleged Debtor The Worth
                                        Collection, LTD.




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